  Case 3:22-cv-00063-NKM Document 3 Filed 01/30/23 Page 1 of 1 Pageid#: 22




                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA
                                CHARLOTTESVILLE DIVISION

Dr. Robert W. Malone,                                 )
                                                      )
       Plaintiff,                                     )
                                                      )       NOTICE
vs.                                                   )       Civil Action No. 3:22-cv-63
                                                      )
Peter R. Breggin, MD, et al,                          )
                                                      )
       Defendant.                                     )

To:    Steven Scott Biss

       Rule 4(m) of the Federal Rules of Civil Procedure states "If a defendant is not served within
90 days after the complaint is filed, the court – on motion or on its own notice to the plaintiff –
must dismiss the action without prejudice against that defendant or order that service be made
within a specified time. But if the plaintiff shows good cause for the failure, the court must extend
the time for service for an appropriate period. This subdivision (m) does not apply to service in a
foreign country under Rule 4(f) or 4(j)(l) or to service of a notice under Rule 71.1(d)(3)(A).”

       Pursuant to that rule, you are hereby given notice that the Court's record reflects that your
complaint was filed on October 30, 2022 and as of this date, service has not been executed on
defendant(s), Peter R. Breggin, MD, Ginger Ross Breggin, America Out Loud, Dr. Jane Ruby,
Red Voice Media.

        You have 15 days from this day, January 30, 2023, to notify the Clerk of this Court that
service has been accomplished on said defendant(s). Otherwise, the named defendant(s) will be
dismissed from the suit without prejudice by Order of this Court.

                                                      LAURA A. AUSTIN, CLERK

                                                      By:     s/Dylan Gaddes
                                                              Deputy Clerk
